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                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 PINK FLOYD (1987) LIMITED,

                Plaintiff,                                   Case No.: 1:23-cv-16864

         v.                                                  Judge Sharon Johnson Coleman

 THE OWNER AND/OR OPERATOR OF                                Magistrate Judge Jeffrey T. Gilbert
 FLOYDOLOGY.COM,

                Defendant.

  PLAINTIFF’S MEMORANDUM IN SUPPORT OF ITS MOTION FOR ENTRY OF
 DEFAULT AND DEFAULT JUDGMENT AGAINST THE DEFENDANT IDENTIFIED
       AS THE OWNER AND/OR OPERATOR OF FLOYDOLOGY.COM

       Plaintiff, PINK FLOYD (1987) LIMITED, (“PFL” or “Plaintiff”), submits the following

memorandum in support of its Motion for Entry of Default and Default Judgment under Fed. R.

Civ. P. 55 against the Owner and/or Operator of floydology.com (the “Defaulting Defendant”)

based on Plaintiff’s action for trademark infringement and counterfeiting (Count I) and false

designation of origin (Count II).

       PINK FLOYD (1987) LIMITED is the business entity for the iconic band PINK FLOYD.

[1] at ¶ 10. It is a limited company having its principal place of business in the United Kingdom.

Id. Since the initial launch of its original PINK FLOYD brand products, Plaintiff’s PINK FLOYD

marks are and have been the subject of continuous marketing and promotion by Plaintiff. See Id.

at ¶¶ 11-14. The U.S. registrations for the PINK FLOYD Trademarks have been continuously used

and never abandoned. Id. at ¶ 13.

       On information and belief, the Defendant created the website identified as floydology.com

and designed it to appear to be selling genuine PINK FLOYD Products, while selling inferior

imitations of Plaintiff’s products. Id. at ¶ 8. Defaulting Defendant conducts business throughout the
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United States, including within the State of Illinois and this judicial district, through the operation

of the fully interactive commercial internet store operating under the domain name (“Defendant

Domain Name”) identified as floydology.com (the “Defendant Internet Store”). Id. at ¶¶ 2, 15.

Defaulting Defendant targets the United States, including Illinois, and has offered to sell, and on

information and belief, has sold and continues to sell Counterfeit PINK FLOYD Products to

consumers within the United States, including the State of Illinois. Id. Additional factual assertions

applicable to the Defaulting Defendant are found in Paragraphs 16-26 of the Complaint are

incorporated herein. Id. at ¶¶ 16-26.

       Plaintiff filed this action on December 18, 2023, alleging, among other claims, federal

trademark infringement and seeks statutory damages and injunctive relief. [1]. On January 9,

2024, this Court granted Plaintiff’s Ex Parte Motion for Entry of a Temporary Restraining

Order (the “TRO”) [17] and subsequently converted the TRO into a Preliminary Injunction on

January 23, 2024. [24].

       Paragraph 14 of the TRO permitted PFL to complete service of process to Defendant by

electronically publishing a link to the Complaint, this Order and other relevant documents on a

website or by sending an e-mail to the e-mail addresses identified in Exhibit 2 to the Declaration

of Thomas Schlegel and any e-mail addresses provided for Defendant by third parties that includes

a link to said website. The Defendant identified as the Owner and/or Operator of floydology.com

associated with PayPal, Inc. (“PayPal”) accounts was properly served on January 12, 2024. [22].

The Defaulting Defendant has not entered an appearance or otherwise defended this action. See

Declaration of Keith A. Vogt (the “Vogt Declaration”) at ¶ 2.

       Pursuant to Federal Rule of Civil Procedure 55(a) and (b)(2), PFL now moves this Court

for an Order entering default and default judgment finding that Defaulting Defendant is liable on


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Counts I and II of PFL’s Complaint. Fed. R. Civ. P. 55(a) and (b)(2). PFL further seeks an award

of statutory damages as authorized by 15 U.S.C. § 1117(c)(2) for willful trademark counterfeiting

against the Defaulting Defendant for use of infringing and counterfeit PINK FLOYD Trademarks

in connection with products sold through the Defendant Internet Store. PFL also seeks entry of a

permanent injunction prohibiting Defaulting Defendant from selling Counterfeit/Infringing

Products, and that all assets in Defaulting Defendant’s financial accounts operated by PayPal, as

well as any newly discovered assets, be transferred to PFL. Plaintiff also requests the court cancel,

or at Plaintiff’s election, transfer the Defendant Domain Name to Plaintiff, assign all rights, title,

and interest, to the Defendant Domain Name to Plaintiff, and permanently disable, delist, or

deindex the Defendant Domain Name from all search engines, in order to ensure the associated

website may no longer be used as a means for selling goods bearing counterfeit and infringing

versions of Plaintiff’s trademarks and infringing upon Plaintiff’s rights.

                                           ARGUMENT

I.     JURISDICTION AND VENUE ARE PROPER IN THIS COURT

       This Court has original subject matter jurisdiction over the claims in this action pursuant

to the provisions of the Lanham Act, 15 U.S.C. § 1051 et seq., 28 U.S.C. § 1338(a)-(b) and 28

U.S.C. § 1331. Venue is proper in this Court pursuant to 28 U.S.C. § 1391, and this Court may

properly exercise personal jurisdiction over Defendant because Defendant directly targets

business activities toward consumers in Illinois and causes harm to Plaintiff’s business within

this judicial district. See uBID, Inc. v. GoDaddy Grp., Inc. 623 F.3d 421, 423-24 (7th Cir. 2010)

(without benefit of an evidentiary hearing, plaintiff bears only the burden of making a prima facie

case for personal jurisdiction; all of plaintiff's asserted facts should be accepted as true and any

factual determinations should be resolved in its favor).



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        Through at least the Defendant Internet Store operating under the Defendant Domain

Name, the Defaulting Defendant has targeted sales from Illinois residents by operating

commercial, interactive internet stores that offer shipping to the United States, including Illinois

and, on information and belief, has sold Counterfeit/Infringing Products to residents within the

United States, including Illinois. [1] at ¶¶ 2, 15. As such, personal jurisdiction is proper since the

Defaulting Defendant is committing tortious acts in Illinois, is engaging in interstate commerce

and has wrongfully caused Plaintiff substantial injury in the State of Illinois. 735 ILCS 5/2-

209(a)(2). See, e.g., NBA Properties, Inc. v. HANWJH, No. 21-2909, 2022 WL 3367823, at *7 (7th

Cir. Aug. 16, 2022) (concluding that personal jurisdiction is proper when a defendant purposefully

directs its actions to Illinois via third-party online retailers); see e.g., Curry v. Revolution Labs.,

LLC, 949 F.3d 385, 399 (7th Cir. 2020); Tommy Hilfiger Licensing LLC et al v. The Partnerships

and Unincorporated Associations Identified on Schedule "A", 1:20-cv-07477 (N.D. Ill. Mar. 24,

2021) (Docket Entry 46); see also, Pink Floyd (1987) Limited v. The Owner and/or Operator of

werock.shop, No. 23-cv-15536 (N.D. Ill. Dec. 20, 2023) and Pink Floyd (1987) Limited v. The

Partnerships and Unincorporated Associations Identified on Schedule “A”, No. 23-cv-14631

(N.D. Ill. Dec. 3, 2023).

II.     PFL HAS MET THE REQUIREMENTS FOR ENTRY OF DEFAULT

        Pursuant to Rule 55(a) of the Federal Rules of Civil Procedure, “when a party against

whom a judgment for affirmative relief is sought has failed to plead or otherwise defend, and that

failure is shown by affidavit or otherwise, the clerk must enter the party's default.” Fed. R. Civ.

P. 55(a). On December 18, 2023, PFL filed its Complaint alleging, among other claims, federal

trademark infringement and counterfeiting, 15 U.S.C. § 1114 (Count I), and false designation of

origin, 15 U.S.C. § 1125(a) (Count II). The Defendant was properly served on January 12, 2024.



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[22]. Despite having been served with process, the Defaulting Defendant has ignored these

proceedings and failed to plead or otherwise defend this action. Vogt Declaration at ¶ 2. Upon

information and belief, the Defaulting Defendant is not an active-duty member of the U.S. armed

forces. Id. at ¶ 3. Accordingly, PFL asks for entry of default against the Defaulting Defendant.

III.   PFL HAS MET THE REQUIREMENTS FOR ENTRY OF DEFAULT
       JUDGMENT

       Rule 55(b)(2) of the Federal Rules of Civil Procedure provides for a court-ordered default

judgment. A default judgment establishes, as a matter of law, that defendants are liable to plaintiff

on each cause of action alleged in the complaint. United States v. Di Mucci, 879 F.2d 1488, 1497

(7th Cir. 1989). When the Court determines that a defendant is in default, the factual allegations

of the complaint are taken as true and may not be challenged, and the defendants are liable as a

matter of law as to each cause of action alleged in the complaint. Black v. Lane, 22 F.3d 1395,

1399 (7th Cir. 1994).

       At least twenty-one (21) days have passed since Defendant was served, and no answer or

other responsive pleading has been filed by the Defaulting Defendant. See Fed. R. Civ. P.

12(a)(1)(A). Accordingly, default judgment is appropriate and, consistent with previous similar

cases in front of this Court, PFL requests an award of statutory damages as authorized by 15

U.S.C. § 1117(c)(2) for willful trademark infringement and counterfeiting against the Defaulting

Defendant for use of infringing and counterfeit imitations of PFL’s PINK FLOYD Trademarks in

connection with products sold through the commercial, interactive internet website operating at

the Defendant Domain Name. Plaintiff seeks to cancel, or at Plaintiff’s election, transfer the

Defendant Domain Name to Plaintiff, assign all rights, title, and interest, to the Defendant

Domain Name to Plaintiff, and permanently disable, delist, or deindex the Defendant Domain

Name from all search engines, in order to ensure the associated websites may no longer be used


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as a means for selling goods bearing counterfeit and infringing versions of Plaintiff’s trademarks

and infringing upon Plaintiff’s rights. PFL also seeks entry of a permanent injunction prohibiting

Defaulting Defendant from selling Counterfeit/Infringing Products, and that all assets in

Defaulting Defendant’s financial accounts operated by PayPal and any newly identified accounts

be transferred to PFL.

       A.      Trademark Infringement and Counterfeiting

       To properly plead a claim of trademark infringement and counterfeiting pursuant to the

Lanham Act, a plaintiff must allege that (1) its mark is distinctive enough to be worthy of

protection, (2) defendants are not authorized to use the mark; and (3) defendant’s use of the mark

causes a likelihood of confusion as to the origin or sponsorship of defendant’s products. See

Neopost Industrie B.V. v. PFE Int’l Inc., 403 F. Supp. 2d 669, 684 (N.D. Ill. 2005) (citing Bliss

Salon Day Spa v. Bliss World LLC, 268 F.3d 494, 496-97 (7th Cir. 2001)).

       PFL alleged in its Complaint that its PINK FLOYD Trademarks are distinctive, that

Defaulting Defendant has knowledge of PFL’s rights in the PINK FLOYD Trademarks, that

Defaulting Defendant is not authorized to use the PINK FLOYD Trademarks, and that Defaulting

Defendant’s use of the PINK FLOYD Trademarks causes a likelihood of confusion. [1] at ¶¶ 27-

33. Since the Defaulting Defendant has failed to respond or otherwise plead in this matter, the

Court must accept the allegations contained in PFL’s Complaint as true. See Fed. R. Civ. P.

8(b)(6); Am. Taxi Dispatch, Inc., v. Am. Metro Taxi & Limo Co., 582 F. Supp. 2d 999, 1004 (N.D.

Ill. 2008). Accordingly, PFL requests entry of judgment with respect to Count I for willful

infringement and counterfeiting of the PINK FLOYD Trademarks against the Defaulting

Defendant.




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        B.     False Designation of Origin

        A plaintiff bringing a false designation of origin claim under 15 U.S.C. § 1125(a) must

show that: (1) the plaintiff has a protectable trademark; and (2) a likelihood of confusion will exist

as to the origin of plaintiff’s products. All Star Championship Racing, Inc. v. O’Reilly Auto.

Stores, Inc., 2013 WL 1701871, *10 (C.D. Ill. Apr. 18, 2013) (citing Johnny Blastoff, Inc. v. Los

Angeles Rams Football Co., 188 F. 3d 427, 436 (7th Cir. 1999)). This is the same test that is used

for bringing a trademark infringement claim under the Lanham Act. See Neopost, 403 F. Supp.

2d at 684.

        PFL alleged in its Complaint that Defaulting Defendant is using the federally registered

PINK FLOYD Trademarks without authorization on the Counterfeit/Infringing Products. This

creates a likelihood of confusion, mistake, and deception among the general public as to the

affiliation, connection, or association with PFL or the origin, sponsorship, or approval of

Defaulting Defendant’s Counterfeit/Infringing Products by PFL. [1] at ¶¶ 34-38. Furthermore,

by using the PINK FLOYD Trademarks on the Counterfeit/Infringing Products, Defaulting

Defendant creates a false designation of origin and a misleading representation of fact as to the

origin and sponsorship of the Counterfeit Counterfeit/Infringing Products. Id. As a result, PFL

requests entry of judgment with respect to Count II for willful false designation of origin against

the Defaulting Defendant.

IV.     PFL IS ENTITLED TO MONETARY DAMAGES AND INJUNCTIVE
        RELIEF

        The awarding of statutory damages serves dual interests in that it is remedial in nature, but

also intended to protect an important public interest. Given the broader economic losses and harm

to the job market caused by counterfeiting, coupled with the possible harm to consumers who are




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tricked into purchasing low quality, counterfeit products over the Internet, it is important to both

penalize defendants and try to deter future violations.

       A.      Statutory Damages Are Appropriate in this Case

       Pursuant to the statutory damages provision of the Lanham Act, 15 U.S.C. § 1117(c), a

plaintiff in a case involving the use of a counterfeit mark may elect to receive “not less than $1,000

or more than $200,000 per counterfeit mark per type of goods or services sold, offered for sale,

or distributed, as the court considers just.” 15 U.S.C. § 1117(c)(1). When the counterfeiting is

found to be willful, 15 U.S.C. § 1117(c)(2) provides for statutory damages of up to “$2,000,000

per counterfeit mark per type of goods or services sold, offered for sale, or distributed, as the court

considers just.” 15 U.S.C. § 1117(c)(2).

       Although 15 U.S.C. § 1117(c) contains the dollar range for possible statutory damage

awards, the only guidance provided by the statute for how to determine a damage award within

the statutory dollar range is “as the court considers just.” 15 U.S.C. § 1117(c). Courts interpreting

15 U.S.C. § 1117(c) have analogized case law applying the statutory damage provision of the

Copyright Act contained in 17 U.S.C. § 504(c). See Lorillard Tobacco Co., 2004 U.S. Dist.

LEXIS 22563, *10; Sara Lee v. Bags of New York, Inc., 36 F. Supp. 2d 161, 166 (S.D.N.Y. 1999).

In Sara Lee, 36 F. Supp. 2d at 170, the court awarded statutory damages in the amount of

$750,000 after estimating the defendants' ill-gotten gains and trebling them to "deter and punish

a willful continuous course of infringements and defiance of the judicial process." The Sara Lee

analysis included seven factors: (1) the profits made by the defendants; (2) the revenues lost by

plaintiff; (3) the value of the mark; (4) the deterrent effect on others; (5) whether the conduct was

innocent or willful; (6) whether a defendant has cooperated in providing records; and (7) the

deterrent effect on the defendant.



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       The USPTO’s Office of Policy and International Affairs and the National

Telecommunications and Information Administration (“NTIA”) together working as part of the

Department of Commerce’s Internet Policy Task Force conducted a review of the relationship

between the availability and protection of online copyrighted works and innovation in the Internet

economy. The Internet Policy Task Force’s White Paper on Remixes, First Sale, and Statutory

Damages (White Paper) was published on January of 2016, (See, Exhibit 1), which recognizes

in copyright law that reduced damages may be warranted to avoid impeding new creative works,

e.g., remixes -- works created through changing and combining existing works to produce

something new and creative -- as part of a trend of user generated content. Id. at 98. However, in

cases of willful infringement, such as before this Court, the same report finds that high statutory

damages are warranted since “[t]hese circumstances present the clearest need for deterrence and

punishment. Id. at 99. Moreover, regarding straight-out counterfeiting where impeding creativity

is not a concern, The Office of the U. S. Trade Representative issued findings of the Special 301

Out-of-Cycle Review of Notorious Markets for 2015, December 2015 (See, Exhibit 2),

highlighted disturbing trends in the marketing and distribution of counterfeit goods online, with

escalating levels of counterfeit sales online including an increase in the services that support such

operations.

       Accordingly, a significant consideration should be whether infringing sales were made

over the internet, with the rationale was that sales over the Internet increased the amount of an

award because use of the Internet made the infringement widely available.

       The lack of information regarding Defaulting Defendant’s sales and profits makes

statutory damages particularly appropriate for default cases like the instant case. See Petmed

Express, Inc. v. medpets.com, Inc., 336 F. Supp. 2d 1213, 1220 (S.D. Fla. 2004). Likewise, Courts



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have recognized that statutory damages should be awarded without requiring an evidentiary

hearing. See Lorillard Tobacco Co. v. Montrose Wholesale Candies & Sundries, Inc., 2008 U.S.

Dist. LEXIS 31761, *11 (N.D. Ill. Apr. 17, 2008).

       B.      Defendant’s Counterfeiting Was Willful

       As alleged in PFL’s Complaint, Defaulting Defendant facilitates sales by deceiving

consumers by using the PINK FLOYD Trademarks without authorization on its website to attract

consumers searching for PINK FLOYD Products. [1] at ¶¶ 19, 22. Defaulting Defendant also

deceives unknowing consumers by using the PINK FLOYD Trademarks without authorization

within the content, text, and/or meta tags of its website to attract various search engines crawling

the internet looking for websites relevant to consumer searches for PINK FLOYD Products. Id. at

¶ 22. Additionally, upon information and belief, Defendant uses other unauthorized search engine

optimization (SEO) tactics and social media spamming so that the Defendant Domain Name shows

up at or near the top of relevant search results and misdirect consumers searching for genuine

PINK FLOYD Products. Id.

       It is clear that Defaulting Defendant’s counterfeiting was willful. “Willful infringement

may be attributed to the defendant’s actions where he had knowledge that his conduct constituted

infringement or where he showed a reckless disregard for the owner’s rights.” Lorillard Tobacco

Co. v. S & M Cent. Serv. Corp., 2004 LEXIS 22563, *19-20 (N.D. Ill. Feb. 25, 2005). As such,

knowledge need not be proven directly, but can be inferred from a defendant’s conduct. Id. at 20.

In the instant case, Defaulting Defendant clearly had knowledge that its activities constituted

infringement or at least a reckless disregard for PFL’s rights in the PINK FLOYD Trademarks,

especially given PFL’s extensive promotional efforts discussed above.




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       Finally, this Court has deemed counterfeiting willful when defendants default. See, e.g.,

Pink Floyd (1987) Limited v. The Owner and/or Operator of werock.shop, No. 23-cv-15536 (N.D.

Ill. Dec. 20, 2023) and Pink Floyd (1987) Limited v. The Partnerships and Unincorporated

Associations Identified on Schedule “A”, No. 23-cv-14631 (N.D. Ill. Dec. 3, 2023).

       C.      A High Statutory Damages Award Is Appropriate and Just

       The Seventh Circuit's standard for awarding statutory damages for copyright infringement

under 17 U.S.C. § 504(c) is articulated in Chi-Boy Music v. Charlie Club, 930 F.2d 1224, 1229

(7th Cir. 1991). Under the Chi-Boy standard, a court awarding statutory damages is “not required

to follow any rigid formula,” but instead “enjoys wide discretion.” Id. In computing the award

amount, a court may consider factors such as “the difficulty or impossibility of proving actual

damages, the circumstances of the infringement, and the efficacy of the damages as a deterrent.”

Id. Courts in this district have also considered the significant value of a plaintiff’s brand and the

efforts taken to protect, promote and enhance that brand in determining the appropriate dollar

figure for the award. Lorillard Tobacco Co., 2004 U.S. Dist. LEXIS 22563, *16.

       In addition, courts have awarded high damage amounts where a defendant’s counterfeiting

activities attracted wide market exposure through Internet traffic or advertisement. See Coach,

Inc. v. Ocean Point Gifts, 2010 U.S. Dist. LEXIS 59003, *15-16 (D.N.J. Jun. 14, 2010) (high

damage awards in counterfeit cases were “due in part to the wide market exposure that the

Internet can provide”); Burberry Ltd. v. Designers Imports, Inc., 2010 U.S. Dist. LEXIS 3605,

*28-29 (S.D.N.Y. Jan. 19, 2010) (damages amount based, in part, on “Defendant's ability to reach

a vast customer base through internet advertising”).

       In similar cases involving willful internet-based counterfeiting, this Court has awarded

significant damages to the plaintiff to serve the purposes of: (1) deterring the defendant and others



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situated like him from bringing into commerce counterfeit goods, (2) compensating the plaintiff

for damages caused by defendant’s infringement, and (3) punishing the defendant appropriately

for his counterfeiting activities. See, e.g., Pink Floyd (1987) Limited v. The Owner and/or

Operator of werock.shop, No. 23-cv-15536 (N.D. Ill. Dec. 20, 2023) and Pink Floyd (1987)

Limited v. The Partnerships and Unincorporated Associations Identified on Schedule “A”, No.

23-cv-14631 (N.D. Ill. Dec. 3, 2023). Given the Court’s clear discretion in determining the

appropriate amount of the statutory damages award within the statutory limits of 15 U.S.C. §

1117(c), PFL respectfully requests the Court’s entry of an award of two hundred fifty thousand

dollars ($250,000) against Defaulting Defendant as it has done in the past under similar

circumstances.

         D.      PFL is Entitled to Permanent Injunctive Relief

         In addition to the foregoing relief, PFL respectfully requests entry of a permanent

injunction enjoining Defaulting Defendant from infringing or otherwise violating PFL’s registered

trademark rights in the PINK FLOYD Trademarks, including at least all injunctive relief

previously awarded by this Court to PFL in the TRO. PFL is also entitled to injunctive relief so it

can quickly take action against any new websites and online marketplace accounts that are

identified, found to be linked to Defaulting Defendant, and selling Counterfeit PINK FLOYD

Products. See, e.g., Pink Floyd (1987) Limited v. The Owner and/or Operator of werock.shop, No.

23-cv-15536 (N.D. Ill. Dec. 20, 2023) and Pink Floyd (1987) Limited v. The Partnerships and

Unincorporated Associations Identified on Schedule “A”, No. 23-cv-14631 (N.D. Ill. Dec. 3,

2023).




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V.      CONCLUSION

        PFL respectfully requests that the Court enter default and default judgment against

Defaulting Defendant, award statutory damages in the amount of two hundred fifty thousand

dollars ($250,000) against Defaulting Defendant pursuant to 15 U.S.C. § 1117(c) and enter a

permanent injunction order prohibiting Defaulting Defendant from selling Counterfeit/Infringing

Products, and transferring all assets in Defaulting Defendant’s financial accounts operated by

PayPal to PFL. Plaintiff also requests the court cancel, or at Plaintiff’s election, transfer the

Defendant Domain Name to Plaintiff, assign all rights, title, and interest to the Defendant

Domain Name to Plaintiff, and permanently disable, delist, or deindex the Defendant Domain

Name from all search engines, in order to ensure the associated websites may no longer be used

as a means for selling goods bearing counterfeits and infringements of Plaintiff’s trademarks and

infringing upon Plaintiff’s rights.

DATED: February 13, 2024                            Respectfully submitted,

                                                    /s/ Keith A. Vogt
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                                                    ATTORNEY FOR PLAINTIFF




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on February 13, 2024, I will electronically file the foregoing with the
Clerk of the Court using the CM/ECF system, I will electronically publish the documents on a
website, and I will send an e-mail to the e-mail addresses identified in Exhibit 2 to the Declaration
of Thomas Schlegel and any e-mail addresses provided for Defendant by third parties that
includes a link to said website.

                                                      /s/ Keith A. Vogt
                                                      Keith A. Vogt




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